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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JACK HERNANDEZ,

                   Plaintiff,
                                                        Civil Action No. 1:21-cv-741
 vs.

 GLASSVIEW, LLC., and JAMES G. BROOKS,                   COMPLAINT
 JR,
                                                        JURY TRIAL DEMAND
                    Defendants.



       Plaintiff Jack Hernandez, by his attorneys, The Law Office of Christopher Q. Davis, PLLC,

alleges upon information and belief as follows:

                                     NATURE OF ACTION

       1.      From April 2018 to April of 2020, Plaintiff Jack Hernandez (“Plaintiff”) was

employed by Defendant Glassview, LLC (the “Glassview” or “Company”) and James G. Brooks,

Jr. (“Brooks”, collectively with the Company, the “Defendants”) as a Sales Agent.

       2.      In violation of federal and state labor laws, Defendants unlawfully required Plaintiff

to work in excess of 40 hours per week without paying Plaintiff the minimum wage compensation

to which he was entitled in accordance with federal law and Florida law. Plaintiff now brings this

action to recover unpaid minimum wages, unpaid commissions, liquidated damages, interest,

attorneys’ fees, and costs pursuant to the Fair Labor Standards Act, 29 U.S.C. §§ 201 et seq.

(“FLSA”), the Florida Minimum Wage Act (“FMWA”), Fla. Stat. § 448.110 et seq., and common

law breach of contract.

                                  JURISDICTION AND VENUE

       3.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

supplemental jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367. The Court

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also has jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1332.

       4.      In addition, the Court has jurisdiction over Plaintiff’s claims under the FLSA

pursuant to 29 U.S.C. § 207 et seq.

       5.      This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C. §§

2201 and 2202.

       6.      Venue is proper in the United States District Court, Southern District of New York

pursuant to 28 U.S.C. § 1391 (c) (1) and (2) and (d).

       7.      Defendant agreed that any suit arising out of the independent contractor agreement

by and between Plaintiff and Defendant “shall be filed only in state or federal court located in the

County and State of New York, and each party hereby irrevocably and unconditionally consents

and submits to the exclusive jurisdiction of such courts over any suit, action, or proceeding arising

out of or related to this Agreement and waives any defense to such jurisdiction and venue.”

                                            PARTIES

       8.      At all relevant times mentioned herein, Plaintiff Jack Hernandez is and was a

resident of Loxahatchee, in the County of Palm Beach, in the State of Florida.

       9.      The Company is incorporated in the State of Delaware and maintains its principal

place of business at 1150 Fifth Avenue, Apt. 10D, New York, New York, 10128.

       10.     At all relevant times herein, the Company met the definition of Plaintiff’s

“employer” under the Fair Labor Standards Act and the Florida Minimum Wage Act.

       11.     Upon information and belief, at all relevant times, Defendant Brooks maintained a

personal residence in New York City.

       12.     Defendant Brooks meets the definition of Plaintiff’s “employer” under all

applicable statute.



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       13.     Defendant Brooks exercised control over significant aspects of the Company’s day-

to-day functions, including but not limited to determining compensation of employees and hiring

and firing employees, and as such is individually liable under the FLSA and Florida law.

       14.     At all relevant times mentioned herein, the Company employed more than four

employees and made in excess of $500,000 in revenue annually.

                                 FACTUAL ALLEGATIONS

       15.     Glassview is a digital media marketing company that sells video advertising

services to brands.

       16.     At all times relevant to this action, Defendants were Plaintiff’s employer,

possessing the power to hire and fire Plaintiff, control the terms and conditions of Plaintiff’s

employment, and determine the rate and method of Plaintiff’s compensation.

Plaintiff’s Interview and Contract with Defendants

       17.     On or around April 2018, Plaintiff was interviewed by Nicole Castagna, then-

manager of Glassview’s Human Resources (“HR”) department.

       18.     During the interview, Ms. Castagna explained to Plaintiff that, if offered the role,

he would go through a three-month probationary period before he would become a salaried

employee.

       19.     It was explained that during this probationary period, Plaintiff would only be paid

commissions based on his sales but after the probationary period, Plaintiff would become a full-

time employee and receive benefits.

       20.     Shortly after the interview, the Company offered Plaintiff the role of “Sales Agent”.




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        21.      Plaintiff then entered into an Independent Contractor Sales Agency Agreement1

(the “Agreement”) with Glassview on April 16, 2018.

        22.      The Agreement provided that Plaintiff’s role as a sales agent would “consist of

introductions of, and other sales activities with respect to, Identified Prospects.”

        23.      Exhibit A of the Agreement defined the terms of Plaintiff’s compensation. It

provided that Plaintiff’s “sole compensation for his, her or its services hereunder shall be the [c]ash

[c]ompensation and the award of [u]nits as set forth below.”

        24.      Exhibit A further provided that, “[c]ommissions are not due or earned until the date

that they are paid to the Agent. At the Company’s sole discretion, the Agent may be eligible to

receive commissions on gross revenue received after termination of the sales agency agreement

provided that the relevant insertion order is fully-executed prior to the termination of the sales

agency agreement.”

Plaintiff’s Job Title and Responsibilities

        25.      Plaintiff’s work for the Company was conducted remotely from Plaintiff’s home

office in Loxahatchee, Florida, with the exception of site visits, which Plaintiff conducted about

twice a year.

        26.      Although the Agreement stated that Plaintiff was an independent contractor, the

facts, as set forth herein, clearly establish that Plaintiff was actually an employee.

        27.      For example, Defendants provided Plaintiff with an official Company email

address that identified him as “VP, Sales” that Plaintiff used this email address to communicate

with Glassview’s clients and leads.


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         As set forth throughout the factual allegations in this Complaint, despite entering into an Independent
Contractor Agreement, the Company exercised significant control over how, when, and where work was performed
and thus is an employee, not an independent contractor.


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        28.     Moreover, during sales pitches, Plaintiff was identified as “Vice President of Sales”

and his photo was included in presentations.

        29.     Shortly after being hired, Plaintiff also participated in several training sessions at

the Company in order to perform his duties in the manor and means required by the Company.

        30.     For example, Plaintiff was trained on Hubspot, a database where employees were

required to add and maintain sales leads.

        31.     Plaintiff was also given specific instructions on the manner and sequence of tasks

he had to follow when engaging new leads and existing clients.

        32.     These tasks included, but were not limited to: (1) researching the web to identify

contact information for potential leads; (2) updating the Company’s Hubspot database with new

contacts; (3) contacting as many leads within a Company as possible; (4) exchanging emails and

phone calls with interested leads to provide more information about the Company’s services; (5)

setting up conferences to deliver sales pitches to prospective clients (either via web conference or

in person); (6) sitting in on and participating in sales pitches; (7) following up with existing clients

regularly to ensure their satisfaction with the Company’s services; and (8) writing detailed reports

after all client visits and sales calls and submitting them to Defendant.

        33.     Approximately 70% of Plaintiff’s total time on the job was dedicated to

administrative tasks such as updating the Company database with his contacts, following up on

internal business emails from Defendant and its employees, and providing information on new

services to existing clients.

        34.     While he primarily worked in the sales department, a portion of Plaintiff’s work

was also in the accounts department, which was responsible for managing existing clients.

        35.     Additionally, as the only sales agent who was fluent in Spanish, Plaintiff was often



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asked to translate on calls with South American clients.

       36.     For example, Plaintiff helped another sales agent pitch services to Anheuser-Busch

in Columbia over the course of four to five months.

       37.     Plaintiff was also asked to translate the Company’s sales materials into Spanish on

several occasions.

       38.     Lastly, from April 2018 to around June 2019, Plaintiff was required to attend daily

sales calls with other sales agents and employees.

       39.     Then, in June of 2019, after over a year Plaintiff received an email saying that the

Company cannot, by law, require independent contractors to participate in daily calls and therefore

he was no longer to participate in the sales calls.

       40.     However, this was short lived because in or around November 2019, Plaintiff’s

attendance on daily calls became required again and from that point, until the end of his

employment, he regularly participated in the daily sales calls.

Despite Working 20-30 Hours Per Week Over the Course of Two Years and Engaging
Several Prospective Clients, Plaintiff is Only Paid Commission for One Deal

       41.     When Plaintiff commenced his duties as a sales agent on or around April of 2018,

he immediately began identifying and contacting leads, and he regularly worked between 20 and

30 hours per week.

       42.     Plaintiff closed his first deal roughly six months into his employment at the

Company.

       43.     Plaintiff had exchanged approximately thirty emails with the client, Vitacost, which

culminated in a pitch call with Plaintiff, the CEO of Glassview, Defendant Brooks, and the

Account Planner of Glassview, Morgan Fosina.

       44.     The sale was finalized in July of 2018; however, Plaintiff was not paid until

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November 2018.

        45.      When he was paid, Plaintiff only received two payments totaling $33,700.81 even

though the sale amount was for $150,000 – which meant Plaintiff’s commission should have been

$45,000.2

        46.      The only other compensation Plaintiff received for the duration of his employment

was twenty dollars ($20.00), which the Company paid to Plaintiff because he wrote a five-star

review of the Company on Glassdoor.com.

        47.      For the 2018 tax year, Defendant Glassview issued an IRS Form 1099-MISC for

Plaintiff’s commission payment.

        48.      After closing the deal with Vitacost, Plaintiff continued to work 20-30 hours per

week, maintain communications with prospective clients, and meet with prospective clients in

person and over web conferences.

        49.      Despite these efforts, Plaintiff did not close on any other deals for Glassview.

        50.      However, during this time, Plaintiff began to notice a pattern where other sales

agents would interfere with leads Plaintiff had identified, acquired, and inputed on Hubspot.

        51.      For example, Plaintiff added Caterpillar Inc. to Hubspot, but he was excluded on

sales calls with the Company and he did not receive compensation for identifying and acquiring

this client when they signed a contract with the Company.

        52.      In addition to this incident, Plaintiff also noticed that another sales agent was

contacting Brandstar, another client Plaintiff had acquired.

        53.      Thus, despite being the first point-of-contact for these clients, Plaintiff was edged



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          The sale amount for this contract was actually $150,000 and according to the Agreement, Plaintiff was owed
30%, or $45,000. However, Plaintiff was only paid approximately $32,000 because the client pulled their ads out of
the service and was not happy with Glassview’s service on the ads, which was not part of Plaintiff’s job.

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out of their deals and did not receive any commission for his work in identifying these clients;

instead the lead and future deal was stolen from him.

       54.     In or around November of 2019, Plaintiff met with Sales Director James Elliott in

Miami, Florida.

       55.     At this meeting, Mr. Elliott praised Plaintiff’s performance and said that Plaintiff

had pulled in “big names.”

       56.     Mr. Elliott offered Plaintiff a new contract that largely mirrored the original

contract, the only material difference between the two was that the new contract raised his rate of

commission on the second year that a client was retained.

       57.     At this meeting, Plaintiff asked why he had not become a full-time employee even

after his probationary period ended and why the Company had not compensated him for leads he

acquired that other agents later contacted.

       58.     Mr. Elliott responded by stating that the Company offered a high-rate commission

at 30% and that “nobody makes that money, not even drug dealers.”

       59.     This response was highly offensive considering that the Company had not even

paid Plaintiff the minimum wage for his hours worked.

       60.     Plaintiff incurred travel expenses for this trip to Miami as well as for site visits with

prospective clients.

       61.     In total, he incurred roughly $788 in hotel and transportation costs over the course

of his employment with Glassview.

       62.     Moreover, Plaintiff accumulated expenses due to working from home. In total, he

incurred up to $7,200 in expenses over his two years of employment with the Company.




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Plaintiff’s Resignation

       63.     Having his clients stolen from him by other agents in the Company, combined with

the fact that he was not making minimum wage, led Plaintiff to resign from the Company via

email on or around April 10, 2020.

       64.     After emailing Mr. Brooks to notify him of his resignation, Plaintiff asked Mr.

Brooks to reimburse Plaintiff’s business travel expenses.

       65.     Plaintiff made this request directly to Mr. Brooks because as CEO he had final

authority on compensation issues, including but not limited to business travel reimbursement for

employees.

       66.     Mr. Brooks did not respond to Plaintiffs emails.

       67.     Plaintiff then sent another email asking for a copy of his second contract, which

Mr. Brooks promptly provided via email.

       68.     Subsequently, Plaintiff sent an email to several directors at the Company detailing

his concerns regarding his pay, lack of reimbursement, and how other sales agents in the Company

were taking clients, who he had identified and acquired, from him.

       69.     Plaintiff received no response to this email.

       70.     Over the course of his employment with the Company, Plaintiff acquired over 1,100

leads and added them to the Company’s Hubspot database.

       71.     However, to date, Plaintiff’s total compensation for his two years of employment

with Defendant consists of $33,700.81, paid in two installments in November 2018, and a $20 bill.

                      AS AND FOR A FIRST CAUSE OF ACTION
      (Failure to Pay Minimum Wages in Violation of the Fair Labor Standards Act)
                                As to All Defendants

       72.     Plaintiff repeats and realleges each and every paragraph above as though fully set



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forth herein.

       73.      Defendant Glassview constitutes an enterprise within the meaning of the Fair Labor

Standards Act, 29 U.S.C. § 203(r). The gross annual income for the enterprise exceeds $500,000.

       74.      Defendant Brooks exercised control over the nature and structure of the

employment relationship and economic control over the relationship such that he is an “employer”

under the FLSA and FMWA and are therefore individually subject to liability.

       75.      Defendant Brooks is an officer or supervisor at Glassview who is personally liable

for unpaid wages under the FLSA because he exercised control over significant aspects of the

Company’s day-to-day functions, including compensation of employees, and hiring and firing of

employees.

       76.      At all relevant times herein, Plaintiff has been entitled to the rights, protections, and

benefits provided under the FLSA, 29 U.S.C. §§ 201, et seq.

       77.      The FLSA regulates, among other things, the payment of minimum wage by

employers whose employees are engaged in interstate commerce, or engaged in the production of

goods for commerce, or employed in an enterprise engaged in commerce or in the production of

goods for commerce, per 29 U.S.C. §§ 206(a); 29 U.S.C. § 207(a)(1).

       78.      Defendants are subject to the minimum wage requirements of the FLSA because

they acted as an enterprise engaged in interstate commerce and its employees are engaged in

commerce.

       79.      Defendants, pursuant to its policy and practice, violated the FLSA by refusing and

failing to pay Plaintiff minimum wage.

       80.      Section 13 of the FLSA, codified at 29 U.S.C. § 213, exempts certain categories of

employees from minimum wage obligations. None of the FSA exemptions applied to Plaintiff.



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        81.     Defendants acted neither in good faith nor with reasonable grounds to believe that

its actions and omissions were not a violation of the FLSA, and as a result thereof, Plaintiff, in

addition to payment of back minimum wages, is entitled to recover an award of liquidated damages

in an amount equal to the amount of unpaid minimum wages described pursuant to Section 16 of

the FLSA, codified at 29 U.S.C.2 § 216(b). Alternatively, should the court find Defendants did not

act willfully in failing to pay minimum wage, Plaintiff is are entitled to an award of prejudgment

interest at the applicable legal rate.

        82.     Furthermore, by failing to accurately record, report, and/or preserve records of

hours worked by Plaintiff, Defendants have failed to make, keep, and preserve records with respect

to Plaintiff sufficient to determine his wages, hours, and other conditions and practices of

employment, in violation of the FLSA, 20 U.S.C. § 201, et seq.

        83.     The foregoing conduct, as alleged, constitutes a willful violation of the FLSA,

within the meaning of 29 U.S.C §§ 216(b) and 255(a), and such other legal and equitable relief as

the Court deems just and proper.

        84.     Plaintiff seeks recovery of his attorneys’ fees and costs to be paid by Defendants,

as provided by the FLSA, 29 U.S.C. § 216(b).

                    AS AND FOR A SECOND CAUSE OF ACTION
(Failure to Pay Lawful Minimum Wages in Violation of the Florida Minimum Wage Act)
                                As to All Defendants

        85.     Plaintiff repeats and realleges each and every paragraph above as though fully set

forth herein.

        86.     At all relevant times, Plaintiff was an employee and Corporate Defendant has been

an employer within the meaning of the Florida Minimum Wage Act (“FMWA”), Fla. Stat. §

448.110 et seq.



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       87.     Defendant Brooks exercised control over the nature and structure of the

employment relationship and economic control over the relationship such that he is an “employer”

under the FLSA and FMWA and are therefore individually subject to liability.

       88.     Defendant Brooks is an officer or supervisor at Glassview who is personally liable

for unpaid wages under the FMWA because he exercised control over significant aspects of the

company's day-to-day functions, including compensation of employees, and hiring and firing of

employees.

       89.     The minimum wage provisions of the Florida Minimum Wage Act and its

supporting regulations apply to Defendants.

       90.     Defendants have failed to pay Plaintiffs the minimum wages to which he was

entitled under the Florida Minimum Wage Act.

       91.     By Defendants’ failure to pay Plaintiff minimum wages, they have willfully

violated the Florida Minimum Wage Act.

       92.     Due to Defendants’ violations of the Florida Minimum Wage Act, Plaintiff is

entitled to recover from Defendants his unpaid minimum wages, liquidated damages, and

reasonable attorneys’ fees and costs of the action.

                        AS AND FOR A THIRD CAUSE OF ACTION
                                        (Breach of Contract)
                                   As to Defendant Glassview

       93.     Plaintiff alleges and incorporates by reference the allegations in the preceding

paragraphs.

       94.     Plaintiff and Defendant entered into a valid and binding agreement memorialized

in Plaintiff’s Independent Contractor Agreement.

       95.     Plaintiff’s original Agreement, which was signed by Plaintiff and Defendant’s

Director of People and Engagement, Kathleen Diskin, stated that his commission for the first year
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of that contract (which was signed on 4/1/6/2018) was equal 30% of the Company’s Gross

Revenue from sales of the Company’s services to prospects identified by Plaintiff.

            96.     Plaintiff’s updated Agreement, which was signed by Plaintiff and Defendant’s

CMO, Patrick Kirby, stated that his commission for the first year of that contract (which was signed

on 12/1/2019) was equal 30% of the Company’s Gross Revenue from sales of the Company’s

services to prospects identified by Plaintiff.

            97.     Plaintiff has performed all of his obligations under the Agreements.

            98.     Defendant has materially breached the Agreement by failing to pay Plaintiff 30%

commission on all sales resulting prospects which he identified by submitting the names to the

Company in writing, via Hotspot, designating them as his “accounts.”

            99.     As a result of Defendant’s numerous material breaches of the Agreement with

respect to the 30% commission, Plaintiff has been damaged, which damages are the natural and

proximate consequence of Defendant’s breach of the Agreement, in an amount to be determined

at trial.

                                        PRAYER FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court enter a judgment and issue:

            (i)     An award to Plaintiff for his actual damages in an amount to be determined at trial

                    for lost wages and benefits, including an award of back pay and front pay;

            (ii)    An award for contract damages arising out of material breaches of his Agreement,

                    including payment of all unpaid commissions guaranteed by his Agreement;

            (iii)   An award to Plaintiff of compensatory damages in an amount to be determined at

                    trial for the humiliation, mental anguish, pain and suffering and emotional distress

                    sustained by him as a result of the Company’s failure to pay him a minimum wage;



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       (iv)     An award of punitive damages to deter future conduct by the Defendant, in an

                amount to be determined at trial as a result of the Company’s failure to pay Plaintiff

                a minimum wage;

       (v)      An award to Plaintiff of the costs of this action, including reasonable attorneys’

                fees to the fullest extent permitted by law; and

       (vi)     Such other and further relief as this Court deems necessary and proper.

                                         JURY DEMAND

       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial

by jury.



Dated: January 27, 2021                                Respectfully submitted,
       New York, New York

                                               _________/s/_____________
                                               Christopher Q. Davis
                                               The Law Office of Christopher Q. Davis
                                               80 Broad Street, Suite 703
                                               New York, New York 10004
                                               646-430-7930 (main)
                                               646-349-2504 (fax)




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